
(2008)
Ernest L. DIXON, Plaintiff,
v.
VIRGINIA AIR AND SPACE CTR., Defendant.
Civil Action No. 08-2013.
United States District Court, District of Columbia.
November 24, 2008.

MEMORANDUM OPINION
ELLEN S. HUVELLE, District Judge.
Plaintiff has filed a pro se complaint and an application to proceed in forma pauperis. His application will be granted, but his complaint will be dismissed as frivolous pursuant to 28 U.S.C. § 1915(e)(2)(B)(i).
The complaint identifies the plaintiff as a retired admiral and gives the plaintiff's address as 1600 Pennsylvania Avenue, Washington, D.C. Plaintiff is suing the defendant "for all my earning and I want everyone to leave the keys and vacate the premises [im]mediately." (Compl. at 1.)
Where a plaintiff is proceeding in forma pauperis, a court is obligated to review the complaint and dismiss it if it is frivolous. This complaint presents the sort of "fantastic and delusional scenario" that warrants immediate dismissal, Neitzke v. Williams, 490 U.S. 319, 327, 109 S.Ct. 1827, 104 L.Ed.2d 338 (1989), and will be dismissed as frivolous under 28 U.S.C. § 1915(e)(2)(B)(i). A related Order accompanies this Memorandum Opinion.
